Case 4:20-cv-00957-SDJ          Document 856 Filed 06/26/25        Page 1 of 12 PageID #:
                                          60889



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

The State of Texas, et al.,

                       Plaintiffs,
                                             Case No. 4:20-cv-00957-SDJ
v.
                                             Hon. Sean D. Jordan
Google LLC,

                       Defendant.




STATE OF SOUTH DAKOTA’S MOTION TO RECONSIDER GRANT OF MOTION TO
    STRIKE THE JURY TRIAL RIGHT ON ITS DTPA CLAIMS (DKT. 854) OR
                ALTERNATIVELY, FOR LEAVE TO AMEND
Case 4:20-cv-00957-SDJ           Document 856 Filed 06/26/25              Page 2 of 12 PageID #:
                                           60890



                                        INTRODUCTION

       On June 18, 2025, the Court held that South Dakota “has not properly (or timely) requested

any remedies for Google’s alleged DTPA violations. South Dakota therefore has no right to any

trial (let alone a jury trial) for its DTPA claims.” Dkt. 854 at 88–89. The Court reasoned that

South Dakota may seek civil penalties for DTPA violations only if it also seeks injunctive relief

under SDCL section 37-24-23—and found that South Dakota has never sought injunctive relief

under section 37-24-23 here. This amounts to entering judgment on South Dakota’s DTPA claims,

a profound step that the Court should take only if the clear record demonstrates that South Dakota

truly intended to abandon them, or prejudiced Google with its delay. See, e.g., Hart v. Bayer Corp.,

199 F.3d 239, 247 n.6 (5th Cir. 2000) (“[A] plaintiff's failure to meet the specific pleading

requirements should not automatically or inflexibility result in dismissal of the complaint with

prejudice to re-filing.”); Cates v. Int’l Tel. & and Tel. Corp., 756 F.2d 1161, 1180 (5th Cir. 1985)

(“But such deficiencies do not normally justify dismissal of the suit on the merits and without

leave to amend, at least not in the absence of special circumstances.”). Respectfully, Plaintiff State

of South Dakota submits that neither is true, and so requests reconsideration so that its claims may

be heard on the merits.

       The Court looked to the Fourth Amended Complaint, Dkt. 541, and the Amended Advisory

on relief sought, Dkt. 381. While the Fourth Amended Complaint does not specifically cite SDCL

section 37-24-23, it states that South Dakota seeks “relief . . . as provided for by law or equity.”

Dkt. 541 at ¶ 775(g). And while a “Quick Reference Chart” in the Amended Advisory does not

list injunctive relief as a form of relief South Dakota seeks for its DTPA claims, Dkt. 381 at 5, the

Amended Advisory does state that South Dakota is “seek[ing] injunctive relief for Google’s unfair

and deceptive practices . . . in [its] parens patriae capacity,” id. at 2. More importantly, more than

a year before the Court ruled and just two weeks after the Amended Advisory, South Dakota served


                                                  1
Case 4:20-cv-00957-SDJ           Document 856 Filed 06/26/25               Page 3 of 12 PageID #:
                                           60891



amended discovery responses on Google, together with an amended version of the “Quick

Reference Chart,” that specified that South Dakota is seeking injunctive relief for its DTPA claims

and that identified SDCL section 37-24-23 as the statutory basis for that remedy. See Ex. A

(Service Email from T. Young dated May 3, 2024, with excerpts from Pl. States’ Seventh Am.

Resps. & Objs. to Google LLC’s First Set of Interrogs.). The service email expressly flagged this

change, meaning Google had unequivocal notice of it well before filing its motion to strike the

jury demand.

       The record therefore already reflects that South Dakota is indeed seeking injunctive relief

for its DTPA claims. But if the Court does not find that the current record is sufficient, then South

Dakota seeks leave to amend its filings to make clear that it is seeking injunctive relief for its

DTPA claims under SDCL section 37-24-23. There would be no prejudice to Google from those

amendments, as Google has understood for more than a year that South Dakota is seeking

injunctive relief for its DTPA claims.

                                         BACKGROUND

       In the Fourth Amended Complaint, which was filed on March 5, 2023, South Dakota asserts

that Google violated its deceptive trade practices act (“DTPA”). See Dkt. 541 at ¶¶ 752–54. In

particular, South Dakota contends that Google violated SDCL section 37-24-6, see id. ¶ 753, which

is the provision that triggers both injunctive relief under section 37-24-23 and, in an action for that

injunctive relief, civil penalties under section 37-24-27. South Dakota also alleged that “[t]he

Attorney General has reason to believe that Google has used and is using the acts and practices

[previously] set forth . . . , which violate SDCL § 37-24-6,” and that because “Google has caused

and will cause adverse effects for the business enterprises of the State [of South Dakota],” it is “in

the public interest” to bring this action. Id. ¶ 754. These are the two necessary prerequisites for



                                                  2
Case 4:20-cv-00957-SDJ            Document 856 Filed 06/26/25               Page 4 of 12 PageID #:
                                            60892



South Dakota’s attorney general to bring a DTPA claim for injunction under SDCL section 37-24-

23—first to believe that a defendant “is using, has used, or is about to use any act or practice

declared to be unlawful by § 37-24-6,” and second to believe that instituting an action “would be

in the public interest,” § 37-24-23. The only purpose of this paragraph is to track that section of

South Dakota law.

        Also in the Fourth Amended Complaint, South Dakota requests various forms of relief for

Google’s DTPA violations. See Dkt. 541 at ¶¶ 775(d)-(g). It specifically requests civil penalties,

id. at ¶ 775(d), and it also generally requests “further relief . . . as provided for by law or equity,

including by SDCL § 37-24-29, or as the Court deems appropriate and just,” id. at ¶ 775(g). On

April 17, 2024, in the Plaintiff States’ Amended Advisory Regarding Relief Sought, South Dakota

stated that, along with “[a]ll Plaintiff States,” it was “seek[ing] injunctive relief for Google’s unfair

and deceptive practices . . . in [its] parens patriae capacity.” Dkt. 381 at 2. But in a “Quick

Reference Chart” following that statement, South Dakota did not list injunctive relief as a remedy

it was seeking for Google’s DTPA violations. Id. at 5.

        On May 3, 2024, Plaintiff States served amended discovery responses on Google, flagging

in particular “a modification to Exhibit B regarding the DTPA relief sought for South Dakota

consistent with their 30(b)(6) testimony.” Ex. A at 1. That Exhibit B is a revised “Quick Reference

Chart” that now includes injunctive relief among the remedies South Dakota seeks for its DTPA

claims and that identifies SDCL section 37-24-23 as the statutory basis for the relief:




                                                   3
Case 4:20-cv-00957-SDJ           Document 856 Filed 06/26/25               Page 5 of 12 PageID #:
                                           60893




Ex. A at 9.

       On November 18, 2024, Google moved for summary judgment on Plaintiff States’ DTPA

claims for multiple reasons, including what it called state-specific grounds. Dkt. 672 at 57–60.

Google argued, for example, that some of the Plaintiff States’ DTPA claims do not apply to the

transactions at issue, which are commercial transactions, id. at 57–59, and that some of the Plaintiff

States’ DTPA claims are time-barred, id. at 59–60. Google did not argue that South Dakota fails

to seek civil penalties in an action for an injunction under SDCL section 37-24-23.

                                           ARGUMENT

       First, the Court should reconsider its finding that South Dakota has failed to seek injunctive

relief for its DTPA claims. “[R]econsideration of a non-final, i.e., interlocutory, decision of a court

. . . will be evaluated under Rule 54(b),” Bourque v. C. Pepper Logistics, LLC, No. 4:22-cv-698-



                                                  4
Case 4:20-cv-00957-SDJ            Document 856 Filed 06/26/25               Page 6 of 12 PageID #:
                                            60894



SDJ, 2023 WL 11779921, at *1 (E.D. Tex. Aug. 23, 2023), under which “any order . . . may be

revised at any time before the entry of a judgment.” Fed. R. Civ. P. 54(b). This Court has explained

that, “[u]nder Rule 54(b), ‘the trial court is free to reconsider and reverse its decision for any reason

it deems sufficient, even in the absence of new evidence or an intervening change in or clarification

of the substantive law.’” Gilmour v. Blue Cross & Blue Shield of Alabama, No. 4:19-cv-160-SDJ,

2021 WL 1196272, at *7 (E.D. Tex. Mar. 30, 2021) (quoting Austin v. Kroger Tex., L.P., 864 F.3d

326, 336 (5th Cir. 2017)). Reconsideration is appropriate even if “evidence . . . could have, and

should have, been raised” earlier, because “under the operative Rule 54(b) standard . . . it does not

matter why the misinterpretation occurred.” Id.

        Here, in the Fourth Amended Complaint, South Dakota requested “further relief . . . as

provided for by law or equity, including by SDCL § 37-24-29, or as the Court deems appropriate

and just.” Dkt. 541 at ¶ 775(g) (emphases added). And while a “Quick Reference Chart” in the

Amended Advisory neglected to list injunctive relief as one of the remedies South Dakota was

seeking for its DTPA claims, earlier in the Amended Advisory, South Dakota did specifically say

that, along with “[a]ll Plaintiff States,” it was “seek[ing] injunctive relief for Google’s unfair and

deceptive practices . . . in [its] parens patriae capacity.” Dkt. 381 at 2. And South Dakota corrected

the error in that “Quick Reference Chart” just two weeks later, serving on Google an amended

chart that specified injunctive relief as one of the remedies South Dakota is seeking for DTPA

claims, as well as identifying and quoting from SDCL section 37-24-23 as the statutory basis for

the relief. Ex. A at 5, 9. Google did not raise the issue at that time, nor in its summary judgment

motion, nor even in its motion to strike—rather, it waited until its supplemental brief, and even

then did not object to the timeliness of South Dakota’s correction, but simply pretended it did not




                                                   5
Case 4:20-cv-00957-SDJ            Document 856 Filed 06/26/25          Page 7 of 12 PageID #:
                                            60895



exist when South Dakota could not respond. In light of this more complete picture of the record,

the Court should reconsider its ruling.

       Second, if the Court believes the record still does not show that South Dakota is seeking

injunctive relief, it should grant South Dakota leave to amend the Fourth Amended Complaint and

the Amended Advisory for the limited purpose of clarifying that point. The amendments would

consist of two minor additions:


      Adding the following bolded clause to paragraph 775(g) of the Fourth Amended Complaint

       (“Grant such further relief to the Attorney General and the State of South Dakota as

       provided for by law or equity, including by SDCL § 37-24-29 and by SDCL § 37-24-23

       as to injunctive relief, or as the Court deems appropriate and just”); and

      Adding the following highlighted item to the “Quick Reference Chart” in the Amended

       Advisory, which reflects language that Google received more than a year ago in the

       amended chart South Dakota served on May 3, 2024.




       In the Fifth Circuit, once a scheduling order deadline has passed for amendment of

pleadings, that scheduling order may be amended “for good cause and with the judge’s consent.”

Fed. R. Civ. P. 16(b)(4); see also S&W Enters., L.L.C. v. SouthTrust Bank of Ala., NA, 315 F.3d

533, 536 (5th Cir. 2003). In evaluating “good cause” under Rule 16(b), courts consider four



                                                6
Case 4:20-cv-00957-SDJ           Document 856 Filed 06/26/25               Page 8 of 12 PageID #:
                                           60896



factors: “(1) the explanation for the failure to [timely move for leave to amend]; (2) the importance

of the [amendment]; (3) potential prejudice in allowing the [amendment]; and (4) the availability

of a continuance to cure such prejudice.” Id. (alterations in original) (quotation omitted). And

once the party moving for amendment has demonstrated good cause, the “more liberal standard of

Rule 15(a) appl[ies] to the district court’s decision to grant or deny leave.” Id. Under Rule 15(a),

courts “should freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2). That language

“evinces a bias in favor of granting leave to amend,” Herrmann Holdings Ltd. v. Lucent Techs.

Inc., 302 F.3d 552, 566 (5th Cir. 2002) (quotation omitted), in weighing factors “such as whether

there has been ‘undue delay, bad faith or dilatory motive on the part of the movant, repeated failure

to cure deficiencies by amendments previously allowed, undue prejudice to the opposing party,

and futility of amendment.’” Id. (quotation omitted); see also Le-Vel Brands, LLC v. DMS Nat.

Health, LLC, No. 4:20-CV-398-SDJ, 2022 WL 949955, at *3 (E.D. Tex. Mar. 28, 2022) (allowing

amendment).

       Here, the complete lack of prejudice to Google meets both standards. Google has known

for over a year that South Dakota is seeking injunctive relief under SDCL section 37-24-23 for its

DTPA claims because Google and South Dakota specifically discussed South Dakota’s position on

that issue, and South Dakota made its position explicit. See Ex. A. Google has therefore litigated

with that understanding in the past year, including by not moving for summary judgment against

South Dakota’s DTPA claims for failing to seek injunctive relief. While South Dakota believes

that amendment is unnecessary because the record already shows that it is seeking injunctive relief

under SDCL section 37-24-23 for its DTPA claims, if amendment would be necessary to allow

South Dakota to pursue injunctive relief under section 37-24-23, then the amendment would be

critical. Not allowing it would be dispositive, as it led directly to the Court’s conclusion that South




                                                  7
Case 4:20-cv-00957-SDJ           Document 856 Filed 06/26/25             Page 9 of 12 PageID #:
                                           60897



Dakota “has not properly (or timely) requested any remedies for Google’s alleged DTPA

violations” and so has “no right to any trial (let alone a jury trial) for its DTPA claims.” Dkt. 854

at 88–89. That would be an extreme result in a situation where South Dakota promptly corrected

to Google any ambiguity that existed on that point, acted in good faith, and, again, caused Google

no prejudice. This is not a case of bad faith, but a typographical error that was promptly corrected

in party correspondence, even if regrettably not in Court filings.

                                         CONCLUSION

       Plaintiff State South Dakota respectfully requests that the Court reconsider its

Memorandum Opinion and Order as to the availability of a jury trial for its DTPA claims—or,

alternatively, that the Court grant it leave to file minimally amended filings to clarify that it is

seeking injunctive relief under SDCL section 37-24-23 for its DTPA claims (thereby entitling it to

a jury for those claims).




                                                 8
Case 4:20-cv-00957-SDJ        Document 856 Filed 06/26/25            Page 10 of 12 PageID #:
                                        60898



DATED: June 26, 2025                               Respectfully submitted,

/s/ W. Mark Lanier                                 /s/ Ashley Keller
W. Mark Lanier                                     Ashley Keller
Mark.Lanier@LanierLawFirm.com                      ack@kellerpostman.com
Alex J. Brown                                      Kiran N. Bhat
Alex.Brown@LanierLawFirm.com                       kiran.bhat@kellerpostman.com
Zeke DeRose III                                    2333 Ponce De Leon Boulevard
Zeke.Derose@LanierLawFirm.com                      Suite R-240
Jonathan P. Wilkerson                              Coral Gables, Florida 33134
Jonathan.Wilkerson@LanierLawFirm.com               (833) 633-0118
10940 W. Sam Houston Pkwy N.
Suite 100                                          Zina Bash (Bar No. 24067505)
Houston, TX 77064                                  zina.bash@kellerpostman.com
(713) 659-5200                                     111 Congress Avenue, Suite 500
                                                   Austin, TX 78701
                                                   (512) 690-0990

THE LANIER LAW FIRM, PLLC                          /s/ Noah S. Heinz
                                                   Noah S. Heinz
                                                   noah.heinz@kellerpostman.com
                                                   1101 Connecticut Ave., N.W., Suite 1100
                                                   Washington, DC 20036
                                                   (202) 918-1123
                                                   KELLER POSTMAN LLC
Counsel for Texas, Idaho, Louisiana (The Lanier
Law Firm only), Indiana, Mississippi, North
Dakota, South Carolina, and South Dakota

Submitted on behalf of the State of South Dakota




                                               9
Case 4:20-cv-00957-SDJ         Document 856 Filed 06/26/25   Page 11 of 12 PageID #:
                                         60899



FOR PLAINTIFF STATE OF SOUTH DAKOTA:

MARTY JACKLEY
Attorney General


/s/ Jonathan Van Patten
Jonathan Van Patten
Assistant Attorney General
Office of the Attorney General
1302 E. Highway 14, Suite 1
Pierre, SD 57501
Tel: 605-773-3215
jonathan.vanpatten@state.sd.us

Attorney for Plaintiff State of South Dakota




                                               10
Case 4:20-cv-00957-SDJ        Document 856 Filed 06/26/25               Page 12 of 12 PageID #:
                                        60900




                               CERTIFICATE OF SERVICE

       I certify that on June 26, 2025, this document was filed electronically in compliance with

Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per Local

Rule CV-5(a)(3)(A).




                                                    /s/ Noah S. Heinz
                                                        Noah S. Heinz




                                               11
